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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

FORT MEYERS DIVISION
SMARTMATIC USA CORP., y CASE NO,
SMARTMATIC INTERNATIONAL )
HOLDING B.V., AND SGO ) MOTION TO COMPEL COMPLIANCE
CORPORATION LIMITED, ) WITH THIRD-PARTY SUBPGENA
)
Petitioners, y
) Related:to Action Pending in the U.S. District
vs. ) Court of the District of Minnesota,
) Smartmatic USA Corp., etal. v. Lindell, et al.,
DENNIS MONTGOMERY, ) 22-cv-00098-WMW-JFD
y
Respondent.

Smartmatic! moves this Court under Fed. R. Civ. P. 34 and 45 to compel
Dennis Montgomery to produce certain documents in his possession, custody, or
control and sit for a. deposition. The documents and testimony are relevant to
Smartmatic’s claims in Smartmatic USA Corp., et al..v. Lindell, et al., No. 22-cv-
00098-WMW-JFD (D. Minn.) (the “Minnesota Litigation”). In support of this
motion, Smartmatic states as follows:

INTRODUCTION

Smartmatic commenced the Minnesota Litigation against Michael J. Lindell
and My Pillow, Inc. (collectively, “Defendants”) on January 18, 2022. Smartmatic

alleges that Defendants engaged in a widespread defamation campaign in which

 

} Smartmatic USA Corp., Smartmiatic International Holding B.V.,.and SGO Corporation Limited
are collectively referred to as “Smartmatic.”
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they falsely claimed that Smartmatic, a voting machine manufacturer that operated
exclusively in Los Angeles County, California during the 2020 U.S. Presidential
election, and its competitor, U.S. Dominion, Inc., (“Dominion”) rigged the election
by flipping votes cast. for Donald Trump to votes for Joe Biden. See. generally,
Exhibit A to Declaration of James R. Bedell (“Bedell Decl.”), First Supplemental
Complaint, at | 75-141. Defendants touted information they received from Mr.
Montgomery as key evidence proving their baseless. claims against Smartmatic and
Dominion. Most notably, Defendants championed Mr. Montgomery’s claim that
voting machine companies, the Obama administration, foreign actors, and others
conspired to use a. deep-state supercomputer called “The Hammer” and. software
called. “Scorecard” to rig elections in the United States, including the 2020
election. Defendants published Mr. Montgomery’s baseless claims in numerous
defamatory documeritaties, podcasts, symposiums, and other public appearances
since the 2020 election.

Smartmatic served Mr. Montgomery with a subpoena (the “Subpoena”) for
documents related to Defendants’ disinformation campaign and a subpoena for a
deposition. Bedell Decl. Ex. B, Subpoena. Mr. Montgomery principally objected
to the Subpoena on the. grounds that: (i) his compliance is barred by the state
secrets privilege; and (ii). he does not possess any relevant documents. Bedell

Decl. Ex. C, Responses and Objections. His privilege claim is misplaced for at
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least two reasons. First, the states secret privilege can be asserted only by the U.S.
government, not a private individual. Not only has the U.S. government made no
such assertion. here, but it refused to assert the privilege after Mr. Montgomery
presented it with the Subpoena. Second, even if some of the information sought.
were barred from production by the state secrets: privilege, the privilege would not
apply to communications or information exchanged between Mr. Montgomery and
Mr. Lindell, or between Mr. Montgomery and any of the other non-governmental
third parties relevant to the Subpoena. Accordingly, his failure to produce a single.
document in response. to Smartmatic’s Subpoena is untenable.

Mr: Montgomery’s claim that he possesses no documents responsive to
many of Smartmatic’s requests similarly lacks any credibility. Smartmatic has:
received many documents in fact discovery demonstrating that Mr. Montgomery
participated in relevarit discussions since the 2020 election. Thus, he cannot
reasonably claim that he does not possess a single document that is responsive to
Smartmatic’s subpoena.

At bottom, the. Subpoena is. narrowly tailored to the. facts and claims. at issue
in the Minnesota Litigation, and Mr. Montgomery has failed to carry his burden to
show that responsive documents are protected by a privilege or are irrelevant.
Accordingly, Smartmatic respectfully requests that the Court. order Mr.

Montgomery to produce responsive documents and sit for a deposition.
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FACTUAL BACKGROUND

I. DEFENDANTS RELIED ON MR. MONTGOMERY IN THEIR
DEFAMATION CAMPAIGN

Smartmatic initiated its lawsuit against Defendants after they engaged in a
multi-pronged defamation. campaign, broadcasting to the world that Smarimatic
rigged. the 2020 U.S. Election by using its technology to flip votes from Donald
Trump to Joe Biden. Bedell Decl. Ex. A, First Supplemental Complaint, at {| 6. In
Defendants’ documentary, Absolute Proof, Mr. Lindell published statements. by,
among other unreliable sources, Mary Fanning, who purported to share evidence.
proving that foreign actors interfered in the 2020 U.S. Election. Bedell Decl. Ex.
D, Transcript of Absolute Proof, at 75:15—83:22. Mary Fanning has publicly stated
that a.main source of her conspiracy theory is Dennis Montgomery. See, ¢g.,
Mary Fanning & Alan Jones, Biden Using SCORECARD and THE HAMMER To
Steal Another U.S. Presidential Election—Just Like Obama and Biden Did In
2012, The American Report (October 31, 2020), available at
https:/Atheamericanreport.org/2020/10/3.1/biden-using-scorecard-and-the-hammer-
to-steal-another-u-s-presidential-election-just-like-obama-and-biden-did-in-201 2/
(“THE HAMMER includes an exploit application known as SCORECARD that is
capable of hacking into elections and stealing the vote, according to CIA

contractor-turned-whistleblower Dennis Montgomery , . . .”):
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Mr. Lindell-has similarly confirmed: that Mr. Montgomery was one of his
principal sources: for his defamatory statements and productions.. Adam Roston &
Peter Eisler, The man behind Trump World’s myth of rigged voting machines,
Reuters (Dec. 20, 2022), available at https://www .reuters.com/investigates/special-
report/usa-election-montgomery/ (“I own it,” Lindell said of Montgomery’s data,
touting it as irrefutable proof Trump was cheated.”). In fact, he recently confirmed
as. much in.a sworn declaration. Bedell Decl. Ex. Q, Declaration of Michael J.
Lindell, at §{ 2, 6 (“A significant basis, in part, for the statements made in the
movies was the information I received about and from Montgomery”).

ll. MR.MONTGOMERY REFUSES TG COMPLY WITH THE
SUBPOENA

On February 14, 2023, Smartmatic served Mr. Montgomery with a
Subpoena. Bedell Decl. Ex. B, Subpoena. Smartmatic seeks, among other
documents:

e¢ Documents and communications regarding. Smartmatic, Dominion, or
the 2020 U.S. election;

e Communications with Mr. Lindell or My Pillow regarding
Smartmatic, Dominion, the 2020 U.S. election, the Trump
administration, or the Trump campaign; and

e Documents and communications related to Defendants’ defamatory
statements about Smartmatic, as well as the programs in which those
statements appeared;

Bedell Deci. Ex. B, Subpoena, at p. 9-11.
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Smartmatie thereafter met-and-conferred with Mr. Montgomery several.
times over the course of nearly three months to try to reach an agreement with Mr.
Montgomery regarding his compliance with the Subpoena. For example, counsel
for the parties connected on March 9, 2023, and scheduled a meet and confer for
March 14, 2023. Bedell Decl. Ex. E, March 9, 2023 Email from C. Kachouroff to
J. Bedell. Mr. Montgomery provided responses and objections to the Subpoena on
March 27, 2023. Bedell Decl. Ex. C, Responses and Objections. For the vast
majority of the docuriient requests, Mr. Montgomery responded that either the state
secrets privilege barred production or he did not. possess any responsive
documents. Jd.

IU. MR.MONTGOMERY CLAIMS THE STATE SECRETS PRIVILEGE

BARS PRODUCTION EVEN THOUGH THE GOVERNMENT
REFUSED TO ASSERT THE PRIVILEGE.

Smartmatic sent a letter to Mr. Montgomery on April 13, 2023, outlining the
deficiencies in Mr. Montgomery’s responses. Bedell Decl. Ex. F, April 13, 2023
Ltr. from J. Bedell to C. Kachouroff. Smartmatic explained that Mr. Montgomery
could not assert the state secrets privilege, and even if a valid privilege could have.
been asserted, Mr. Montgomery did not provide any details by which Smartmatic
could evaluate his ‘assertion. Jd. Smartmatic further explained that even if the state
secrets privilege covered some of the information sought, that privilege would not

apply to communications between Mr. Montgomery and non-governmental parties
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such as Mr. Lindell or Ms. Fanning, Jd Finally, Smartmatic argued that
documents. obtained in discovery in the. Minnesota Litigation showed that. Mr.
Montgomery’s responses claiming he possessed no responsive documents were not
credible. Jd Smartmatic, therefore, requested another meet and confer with
counsel. Id.

Counsel met and conferred again on April 24, 2023. During that. call, Mr.
Montgomery’s counsel confirmed that he was in contact with an Assistant United
States Attorney from the District of Minnesota regarding the Subpoena. Bedell
Decl... 9. On April 27, 2023, counsel forwarded Smartmatic a letter received from
the U.S. Attorney for the District of Minnesota. Bedell Decl. Ex. G, April 26,
2023 Ltr. from A. Luger to P. McSweeney & C. Kachouroff. In the letter, the
government stated that its position on Smartmatic’s Subpoena was the same as its
position regarding a similar subpoena sérved by Dominion in Montgomery v.
eTreppid Technologies, LLC, etal, 3:06-cv-00056-MMD-CSD (D. Nev.). Ia.

In eTreppid, a copytight and trade-secret-misappropriation dispute between
Mr. Montgomery and an LLC of which he was a member, the parties litigated
claims that had nothing to do with the Subpoena, the 2020 Election,. or any claims
of election fraud. See Montgomery v. eTreppid Techs., LLC, 548.F. Supp. 2d 1175,
1177 (D. Nev. 2008). Mr. Montgomery also brought claims in eTreppid against

the U.S. Department of Defense related to copyright infringement and a
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nondisclosure agreement. Bedell Decl. Ex. H, May 15, 2023. Report and
Recommendation in eTreppid, at 2. In 2007, the court entered a protective order
finding that some information that could be introduced in the. case was subject to
the state secrets privilege. Jd. at 3. Specifically, the protective order barred the
parties from disclosing any documents reflecting: “(1) ‘the existence of any actual
or proposed relationship’ between the parties and any U.S. intelligence agency and.
(2) any ‘actual or proposed intelligence-agency interest in, application of or use of
any technology, software or source code owned or claimed by the Parties.’” Jd.

In 2022—more than 13. years after Mr. Montgomery’s: claims against the
government in e7reppid were dismissed with prejudice-——Mr. Lindell sought to
intervene to obtain an order lifting the protective order in the case, arguing that he
needed Mr. Montgomery’s data to defend against a defamation action brought by
‘Dominion. Jd. at 4. Mr. Montgomery then filed his own motion in the case,
arguing that the protective order barred him from complying with the subpoena
because Lindell sought information protected by the state secrets’ privilege under
the court’s protective order in eTreppid. Id. at 5. For its part, the government
argued that “the Protective Order in this litigation was entered over 15 years ago,
pursuant to an assertion of the state secrets privilege over 16 years ago. Just by
simply looking at a calendar shows that the-Order had nothing to do with the 2020

election or alleged fraud therein.” Jd. at 13. The eTreppid court then denied Mr.
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Montgomery’s motion. Bedell Decl. Ex. H, May 15, 2023 Report and
Recommendation in eTreppid, at 1. The government took the same position when
Montgomery provided it with. Smartmatic’s Subpoena. Bedell Decl. Ex. G, April
26, 2023 Ltr. from A. Luger to P. McSweeney & C. Kachouroff.

Counsel for Smartmatic and Mr. Montgomery spoke. three more. times
between April 28, 2023 and May 9, 2023. Bedell Decl. ¢ 12. Mr. Montgomery
asserted that the vast majority of decuments responsive to the Subpoena were
covered by the state secrets privilege. Jd. Smartmatic noted that Mr. Montgomery
still had not produced any responsive documents, which was clearly improper
because the privilege could not possibly apply to. many categories of documents
requested by Smartmatic. /d@ On May 15, 2023, though, Mr. Montgomery stated
that he refused to sit for a deposition or produce any documents without a court
order requiring him to do so. Bedell Decl. Ex. I, May 15, 2023 Lir. from P.
McSweeney to J. Bedell & A. Parker,

STANDARD OF REVIEW

Rule 45 provides that a party seeking to enforce a subpoena may “move the
court for the district where compliance is required for an order compelling
production or inspection.” Abante Rooter & Plumbing, Inc. v. Poundteam Inc.,.
No. 8:20-mc-110-T-30SPF, 2021 WL 2430768, at *1 (M.D. Fla. Jan. 21, 2021).

Discovery sought under Rule 45 is subject to the same standards as other discovery
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rules. Nuvasive, Inc. v. Absolute Med., LLC, No. 6:17-cv-2206-Orl-41GJK, 2018
WL 11343350, at *3 (M.D. Fla. Aug. 31, 2018).

ARGUMENT

Smartmatic’s motion to compe! should be granted for three reasons. First,
the information sought from Mr. Montgomery is relevant to the Minnesota
Litigation, and compliance with the Subpoena will not impose an undue burden on
Mr. Montgomery. Second, the state secrets privilege or other nondisclosure
obligations do not apply to the information sought in the Subpoena. Third, Mr.
Montgomery’s claim that he does not possess documents responsive to some of
Smartmatic’s requests is not credible based on documents already produced in the.
Minnesota Litigation.

I. THE INFORMATION REQUESTED BY SMARTMATIC IS
RELEVANT

The scopé of discoverable information under Rule 45 is the same: as under
Rule 26. Fit Tea LLC v. Alani Nutrition LLC, No. 6:23-mc-1-WWB-LHP, 2023
WL 2351657, at *1 (M.D. Fla. Mar. 3, 2023). Thus, Smartmatic may obtain from
Mr. Montgomery “discovery regarding any nonprivileged matter that is relevant to
any party’s claim or defense... .” Fed. R. Civ. P. 26(b)(). Furthermore, “[w]hen
discovery appears relevant on its face, the party resisting the discovery has the
burden to establish facts justifying its objections by demonstrating that the

requested discovery (1) does not come within the scope of relevance as defined

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under Fed. R. Civ. P. 26(b)(1); or (2) is of such marginal relevance that the
potential harm occasioned by the discovery would outweigh the ordinary
presuinption in favor of broad disclosure.” Gov’t Emps. Ins. Co. y, Martineau, No.
8:19-cv-1382-T-35SPF, 2020 WL 2128477, at *1 (M.D. Fla. May 5, 2020).

Discovery related to. Mr. Montgomery is an important component of
Smartmatic’s claim that Defendants acted with “actual malice,” i.e., they published
a statement about Smartmatic “with knowledge that it was false or with reckless
disregard of whether it was false or not.” See New York Times Co. y. Sullivan, 376
U.S. 254, 279-80 (1964); see also Harte-Hanks Comme’ns Inc. v. Connaughton,
491 U.S. 657, 667 (1989) (defaming with reckless. disregard includes making a
statement “with a high degree of awareness of . . . probably falsity, or... [while]
entertain[ing] setious doubts as to the truth of [the defendant's] publication”). One
of the hallmarks of actual malice is evidence that the defendant had “obvious
reasons to doubt the veracity of [its] informant or the accuracy of the report.” Sr.
Amant v. Thompson, 390 U.S. 727, 732 (1968).

All of the documents and information concerning Mr. Montgomery that
Smartmatic has requested are relevant to Defendants’ actual malice. Indeed, since
Defendants began defaming Sniartmatic following the 2020 election, they have
routinely touted Mr. Montgomery. as one of their primary sources of election fraud

information. Bedell Decl. Ex. Q, Declaration of Michael J. Lindell, at 2, 6 (“A

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significant basis, in part, for the statements made in the movies was the
information I received about and from Montgomery”). Indeed, Mr. Lindell stated
the. following to potential donors to his “Lindell Legal Offense Fund”:

Now, I have exciting news. Dennis Montgomery, the

software engineer, and former government. insider is the

whistleblower on election fraud. Montgomery’s information

will be the final nail in the coffin for THE PROOF that

electronic voting machines are stealing your voice! . . . This is

so significant that it will vindicate me from all the lawfare

that Dominion and Smartmatic have waged against us! They
can’t hide the facts from the American people anymore!

Bedell Decl. Ex. J, Sept. 7, 2022 Email from N. Dressen to T. Carter. Similarly,
prior to Mr. Lindell’s Cyber Symposium——a three-day event during which
Defendants purported to show incontrovertible facts proving the 2020 U.S. election
was rigged—a cybersecurity expert hired by Mr. Lindell also Stated that Mr.
Montgomery was the source of the data to be provided at the Symposium. Aaron
Blake, The spectacular implosion of Mike Lindell, The Washington Post (Aug. 12,
2021), available at https://www.washingtonpost.com/politics/2021/08/12/
spectacular-implosion-mike-lindell/ (“[Josh Merritt] confirmed the source of the.
cyber-data as Dennis Montgomery.”); see. also Adam Roston & Peter Eisler, The
man behind Trump World's myth of rigged voting machines, Reuters (Dec. 20,
2022), available at https://www reuters.com/investigates/special-report/usa-
election-montgomery/ (“‘I own it,’ Lindell said of Montgomery’s data, touting it as

irrefutable proof Trump was cheated.”) (“[Lindell] did release some fof Mr.

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Montgomery’s] data, however, in August of 2021, when he invited teams. of
information-technology experts to scrutinize it at a ‘cyber symposium.’”).

Throughout Mr: Lindell’s disinformation campaign, others have warned him
that Mr. Montgomery and his election fraud conspiracy theories were not credible.
Bedell Decl. Ex. K, Feb. 9, 2021 Email from J. Flynn te M. Lindell; see also Aaron
Blake, The spectacular implosion of Mike Lindell, The Washington Post (Aug. 12,
2021), available at — https://www.washingtonpost.com/politics/202 1/08/12/
spectacular-implosion-mike-lindell/ (noting that in 2014, Mr. Montgomery’s
actions were considered “one. of the most elaborate and dangerous hoaxes in U.S.
history”). Nevertheless, Mr. Lindell has, time and time again, continued to rely on
Mr. Montgomery as a source for his baseless election fraud claims and labeled
anyone who doubted Mr. Montgomery and his conspiracy theories as “traitors” and.
“spies.” Bedell Decl. Ex. L, July 25, 2021 Text Message from M. Lindell to K.
Rasmussen (“[t]he. people saying these things [about Mr. Montgomery] are the
spy’s [sic] and treasonist [sic]”). In fact, Mr. Lindell continued to publicly claim
that Mr. Montgomery’s. information was valid more than a year after the Cyber
Symposium and well after others had demonstrated that Mr. Montgomery had
provided him inaccurate information:

And one of them said, she said, “Mike, everywhere we go |

wish you wouldn’t talk about the Dennis Montgomery thing
and that ‘stuff, because it’s just, it doesn’t, it’s not real,”

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whatever, and I got upset and I looked at her and T said, “it is
real,”

Validating The Dennis.Montgomery Data, FrankSpeech, at 1:12-1:37 (Oct. 13,
2022), available at https://frankspeech.com/video/validating-dennis-montgomery-
data.

Based on Mr. Montgomery’s role as a prominent source of baseless
information that Mr. Lindel] published about Smartmatic, Smartmatic requested
several categories of documents and information from Mr. Montgomery, including
the following:

° Information related to voting technology companies and the 2020 U.S.
election (Request Nos. 1-4, 9, 14-17 );

e Information related to Mr. Montgomery's contacts with Defendants
and their associates (Request Nos. 5~8, 10-13, 16-17); and

e Information related to Mr. Montgomery’s association with
Defendants’ defamation campaign (Request Nos. 10-13, 16-17).

Bedell Decl. Ex. B, Subpoena. Those documents and the others that Smartmatic
seek are all probative of Mr. Lindell’s actual malice because they will show, for
example: the information that Mr. Montgomery provided to Mr. Lindell, including
information related to “Hammer and Scorecard”; the extent to which Mr. Lindell
reliéd on Mr. Montgomery as a source even after he knew that Mr. Montgomery
and his conspiracy theories were not eredible; and Mr. Montgomery’s participation
in publications in which Mr. Lindell defamed Smartmatic. See, e.g., Mahnke v.

Nw. Publ’ns, Inc. 160 N.W.2d 1, 9 (Minn. 1968) (affirming jury verdict for

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plaintiff where defendant relied on source who “was in no position to have the true
facts in his possession.”). These documents and information are clearly relevant on
their face to Smartmatic’s claims anid Mr. Montgomery cannot meet his burden to
show that they are irrelevant or that the burdén of production would “outweigh the
ordinary presumption in favor of broad disclosure.” Martineau, 2020 WL.
2128477, at *1.

1. MR. MONTGOMERY IMPROPERLY ASSERTED THE STATE
SECRETS PRIVILEGE.

As the party resisting discovery requests, Mr. Montgomery bears the burden
to prove a. valid privilege bars his production of relevant documents. Universal
City Dev. Partners, Ltd. v. Ride & Show Eng’g, Inc., 230 F.R.D. 688, 690 (M.D.
Fla, 2005) (“The party asseiting the privilege has the burden of proving the
existence of the privilege.”). Mr. Montgomery has refused to cooperate with the
Subpoena principally based on his claim that the ‘state secrets privilege (or other
governmental nondisclosure obligation) bars production of documents or
testimoriy. But his argument.is misplaced for at least two reasons. First, only ‘the
government can claim the state secrets privilege. Second, even if Mr. Montgomery
properly invoked the privilege (he.did not), Smartmatic requested communications
between Mr. Montgomery and third parties, such as MyPillow employees, which

could not possibly be shielded by the privilege.

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A. Mr. Montgomery does not have standing to assert the state secrets
privilege.

The state secrets privilege “permits the Government to prevent disclosure of
information when that disclosure would harm national security interests.” United
States v. Zubaydah, 1428. Ct, 959, 967 (2022). This is typically invoked in cases
involving imilitary secrets, such as the existence. of espionage or the location (or
denial of that location) of a storage facility for nuclear weapons. Tenet v. Doe, 544
U.S. 1, 9-10 (2005). It is well settled that only the government may invoke the
state secrets privilege. See, e.g. Doe v. CIA, 576 F.3d 95, 104 (2d Cir. 2009);
Raytheon SI Gov. Sols., Ine. v. Carroll, No. 6:11-cv-1615-Orl-19KRS, 2011 WL
13299638, at *4 (M.D. Fla. Nov. 21, 2011). And the privilege may be claimed
only by “the head of the department with control over the matter in question after
personal consideration by that officer.” Doe, 576 F.3d at 104.

Mr. Moritgomery does not have standing to assert the state secrets privilege.
First, Mr. Montgomery does not, and indeed cannot, claim he-acts on behalf of the
government, let alone that he is the “head of the department” invoking the
privilege. See id.; Bedell Decl. Ex. I, May 15 Letter. For that reason, alone, Mr.
Montgomery’s attempt to claim the state secrets privilege fails. See Carroll, 2011
WL 13299638 at *4.

Second, the governinent has not invoked the state secrets privilege on Mr.

Montgomery’s behalf despite having had the opportunity to do so. Mr.

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Montgomery wrote to the U.S. Attorney General’s office on March 27, 2023,
providing the Subpoena and asking the government to weigh in on his concern that
the state secrets privilege might bar disclosure. Bedell Decl. Ex. M, Mar. 27, 2023
Ltr. from C. Kachouroff to M. Garland. On April 26, 2023, the government
responded to Mr. Montgomery, stating that. “the United States takes the same
position it has taken in its publicly filed briefing in Moritgomery v. eTreppid
Technologies, LLC, et al., Nos. 3:06-cv-56 & 3:06-cy-145 (D, Nev.), ECF No.
1243.” Bedell Decl. Ex. G,. April 26, 2023 Ltr. from.A. Luger to P. McSweeney &
C. Kachouroff. That public filing is the government’s: response to Mr.
Montgomery’s. motion seeking relief from a 15-year-old protective order that he
believed prevented his compliance with a subpoena issued to him by Mr. Lindell,
seeking his data related to the 2020 election. See Bedell Decl. Ex: N, United
States’? Mem. In Opp. to Dennis Montgomery’s Mot. Filed at ECF No. 1236,
Montgomery y. eTreppid Techs., LLC, No. 3:06-cv-00056-MMD-CSD (D. Nev.
December 5, 2022).. The government: stated that “Montgomery has not. explained
what these farfetched allegations of surveillance have to the do with Lindell’s
contentions that votes in the 2020 election were manipulated by anyone, let alone
the United States Government.” Jd at 13. And then the Court denied Mr.
Montgomery’s motion. Bedell Decl. Ex. H, May 15, 2023 Report and

Recommendation in eTreppid, at 1.

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The government took the same position in response to. Mr. Montgomery’s
letter regarding the Subpoena. Bedell Decl. Ex. G, April 26, 2023 Ltr. from A.
Luger to P. McSweeney & C. Kachouroff. In other.words, the government had. an
opportunity to review the Subpoena and evaluate whether it implicated any “state
secrets,” but it declined to assert the state secret privilege. Indeed, the government
determined that the protective order entered in eTreppid in 2007 has nothing to do
with the Subpoena. Jd. (“[T]he United States takes the same position it has taken
in its publicly filed briefing in [eTreppid].”); Bedell Decl. Ex. N at 3 (“Put very
simply, the Protective Order in his case has nothing to do with the defamation.
litigation against Lindell .. .”), Accordingly, Mr. Montgomery cannot properly
assert the state secrets privilege.

B.  Smartmatic has not requested any documents subject to the state
secret privilege.

Even ifMr. Montgomery had standing to assert the state secrets privilege (he
does not), he would not be able to properly withhold any responsive documents in
his possession, custody, or control, because: (1) substantially all of Smartmatic’s
requests seek only documents or information related to the Defendants and
individuals who assisted Defendants with their defamation campaign; and (ii) the
narrow timeframe that Smartmatic identified in its requests precludes the

possibility that any responsive documents would contain state secrets.

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First, Mr. Montgoméry cannot properly claim the state secrets privilege
because substantially all of Smartmatic’s requests seek documents and information
related to the Defendants and their defamatory broadcasts rather than any state
secrets that Mr. Montgomery might possess. In the Minnesota Litigation,
Smartmatic alleges that Mr. Lindell and MyPillow defamed it by publishing
statements that Smartmatic rigged the 2020 election. In the Subpoena, Smartmatic
seeks, among other information, documents relating to Mr. Monigomery’s
collaboration with Defendants and the sources they relied upon for their
defamatory content. In fact, of the seventeen document requests in the Subpoena,
twelve relate to Defendants on their face and do not seek any information that
could reasonably be construed as “state secrets.” See Bedell Decl. Ex. B,
Subpoena, at Request Nos. 3, 5-8, 10-13, 15-17. For example, Request No. 5
seeks “fc]ommunications with LINDELL or MY PILLOW concerning
SMARTMATIC, DOMINION, the 2020 PRESIDENTIAL ELECTION, the
TRUMP ADMINISTRATION, and/or the TRUMP CAMPAIGN.” Id. at Request
No. 5. There is not a single communication between Mr. Montgomery and Mr.
Lindell or any other My Pillow employee that could be a state secret.

Mr. Montgomery also cannot reasonably claim that the remaining five
requests—Request Nos. 1, 2, 4, 9, and 14—seek state secrets. In those requests,

Smartmatic seeks the following:

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e “Documents and Communications with or concerning SMARTMATIC.”
e “Documents and Communications with or concerning DOMINION.”

« “Documents and Communications concerning coverage of the 2020
PRESIDENTIAL ELECTION by OTHER NEWS ORGANIZATIONS.”

« “Documents relating to Your expertise with voting machines and/or
election security.”
» “Documents and Communications concerning Your efforts to assess,

investigate, verify, or vet any aspect of Your statements regarding the
2020 PRESIDENTIAL ELECTION.”

Bedell Decl. Ex. B, Subpoena. These requests have nothing to do with any “state
secrets” from 2007 that Mr. Montgomery might possess.

Second, even if any of Smaitmatic’s requests could reasonably be construed
as seeking state secrets, the timeframe of them precludes the possibility that Mr.
Montgomery would need to produce any state secrets in response to them. As
discussed above, Mr. Montgomery claims that he can invoke the state secrets
privilege based on litigation and protective orders from 2006 and 2007. Bedell
Decl. Ex. M, March 27, 2023 Ltr. from C. Kachouroff to M. Garland. But
Smartmatic seeks only documents from January 1, 2020 to the present. Bedell
Decl. Exs. B, Subpoena, & F, Apr. 13, 2023 Ltr. from J. Bedell to C. Kachouroff-
It does not seek any documents or information implicated by protective orders that

predate the Obama administration. Jd.

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Ill. MR. MONTGOMERY’S CLAIM THAT HE HAS NO RESPONSIVE
DOCUMENTS LACKS ANY CREDIBILITY.

In response to ten of Smartmatic’s requests, Mr. Montgomery claims he does
not have any responsive documents. But documents produced in the Minnesota
Litigation cast doubt on Mr. Montgomery’s claim.

For example, in Request No..5, Smartmatic seeks communications. with Mr.
Lindell or individuals from My Pillow concerning Smartmatic, Dominion, the
2020 U.S. election, the Trump Administration, and/or the Trump Campaign. Bedell
Decl... Ex. B, Subpoena, at 10. In response, Mr. Montgomery claims that he does
not possess a single responsive communication concerning Smartmatic, Dominion,
or the 2020 U.S. election. Bedell Decl. Ex. C, Response. Yet, Mr. Lindell stated
in his sworn testimony that in January and February 2021, he obtained information:
about Dennis Montgomery “through communications: directly with [Mr.
Montgomery].” Bedell Decl. Ex. Q, Declaration of Michael J. Lindell. Mr.
Montgomery similarly claims he does not possess any communications with guests
on Mr. Lindell’s defamatory broadcasts, but on January 16, 2021, a producer of
Lindell’s defamatory content, Mary Fanning, copied Mr. Montgomery on an. email
to Mr. Lindell in which she meritioned that Mr. Montgomery possessed documents
supporting the “Hammer” conspiracy theory regarding election fraud. Bedell Decl.
Ex. O, Jan. 16, 2021 Email from M. Fanning to M. Lindell. Further, Mr.

Montgomery claims he does not possess any documents showing any remuneration

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he received in exchange for work conducted for Mr. Lindell, but a text-message
exchange between Mr. Lindell and Ms. Fanning shows that Mr. Lindell “bought
him a 2 million dollar house and another 1.1 million earlier in the year, and “[h]e
signed everything over to me.” Bedell Decl. Ex. P, Aug. 12, 2021 Text Message
from M. Lindell to M. Fanning.

Based on these documents, it is clear that documents responsive to
Smartmatic’s Subpoena exist and his claim that he does not possess a single
responsive document lacks any credibility. Mr. Montgomery should be ordered to
conduct a proper search and produce all responsive documents.

CONCLUSION

Dennis Montgomery fabricated the conspiracy theory that the 2020 election
was rigged by actors using “the Hammer and Scorecard,” and Mr. Lindell
amplified Mr. Montgomery’s lies in his own defamatory content about Smartmatic.
As such, Mr. Montgomery was a key source of information for Mr. Lindell and is a
key fact witness in Smartmatic’s case against Defendants. Accordingly,
Smartmatic respectfully requests that the Court enter an order compelling Mr.
Montgomery to produce documents responsive to the Subpoena and to sit for a

deposition.

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Respectfully submitted,

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LOCAL RULE 3.01(G) CERTIFICATION
I certify that Petitioners have conferred with Respondent tegarding the
dispute over Petitioners’ subpoena. The parties do not agree that Respondent can
comply with the subpoena without this Court’s intervention. Respondent wrote to
Petitioners on May 15, 2023 to state that Respondent will not comply with the
subpoena without a court order.

/8/ Matthew Langley

Matthew Langley

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